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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA
ex rel. ROBERT V SMITH,

      Plaintiff,

v.                                           CASE NO. 3:20cv3678-MCR-EMT
                                                 [SEALED]
JAY A ODOM,
OKALOOSA COUNTY BOARD OF
COUNTY COMMISSIONERS,

     Defendants.
_________________________________/

                                     ORDER
      The docket reflects that Plaintiff has filed an Amended Complaint under seal

in this false claims action, adding the State of Florida and substantive new

allegations. The State has now declined to intervene. The United States is directed

to advise the Court within seven (7) as to whether it is still considering the new

allegations of the Amended Complaint or whether the Amended Complaint can now

be unsealed and the Plaintiff be allowed to proceed.

      DONE AND ORDERED this 19th day of July 2022.


                                 M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE
